                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION


 IN RE STEPHON WOODS,

       Debtor,                                       Case No.: 19-81105-CRJ-13

 STEPHON WOODS,

       Plaintiff,                                    Adv. Proc. No.: 19-80044-CRJ

 v.

 FINANCIAL RECOVERY SERVICES,
 INC., WEBFINANCIAL HOLDING
 CORP., D/B/A WEBBANK, and
 FINGERHUT,

    Defendants.
 _____________________________________
         DEFENDANT, FINANCIAL RECOVERY SERVICES, INC’S REPLY
                           TO SHOW CAUSE ORDER


            COMES NOW the Defendant, Financial Recovery Services,, Inc. (hereinafter “Defendant”

or “FRS”), by and through undersigned counsel, and responds to this Honorable Court’s Order

[doc. 25] as follows:

            1.      On September 19, 2019, this Honorable Court entered an Order [doc. 25] providing

notice that certain affirmative defenses asserted by FRS in regards to punitive damages are likely

unwarranted by existing law, or by a nonfrivolous argument for the modification of existing law

or establishment of new law. Specifically, this Honorable Court referenced every affirmative

defense raised by FRS as it pertains to the imposition of punitive damages. The Order described

the affirmative defenses as a challenge to the Court’s authority to enter a final order awarding

punitive damages. A hearing is set for October 23, 2019, coinciding with a status conference in




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this matter, for counsel to address the Court’s concerns. This reply is submitted not to avoid the

hearing but only in an effort to address as many issues preemptively as possible.

            2.   The Undersigned agrees the defenses asserted are overly broad and do not narrowly

address the genuine purpose of the defenses. To that end, the Undersigned stresses the intent of the

defenses was to preserve the right of the Defendant to challenge any award of punitive damages on

appeal not because this Honorable Court lacked authority to award them (should the facts of the

case merit it) 1 but only to the extent the award of punitive damages was so disproportionate to the

actual harm caused that it might rise to an unconstitutional taking.

            3.   FRS is not challenging, and never intended to challenge, this Honorable Court’s

authority to award punitive damages under 11 U.S.C. § 362(k).

            4.   Instead, FRS via the Undersigned intended only to preserve its rights to challenge

an award of punitive damages to the extent such an award may be disproportionate to the actual

harm suffered, or excessive given the conduct of the Defendant, or to any extent a punitive award

might exceed constitutional norms. The Undersigned believes this is a valid affirmative defense to

assert, but also agrees the filed answer badly misses the mark.

            5.   FRS notes an award of punitive damages can be so out of proportion to the actual

harm suffered by the Plaintiff that it violates the United States Constitution. This unusual, but

possible, circumstance was demonstrated in the case of BMW of North America, Inc. v. Gore, 517

U.S. 559, 568-87 (1996). In this notorious case, punitive damages of $4 million were awarded but

the same jury only awarded compensatory damages of $4,000. The United States Supreme Court

found this shocking disparity to violate the U.S. Constitution stating “we are fully convinced that

the grossly excessive award imposed in this case transcends the constitutional limit.”


1
 FRS does not believe the facts of the case would merit any punitive damages, but does not want to risk waiver by
asserting no affirmative defenses in this regard.


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            6.   Defendant does not think punitive damages are warranted in this case. If they were,

the Defendant does not think this Honorable Court would award damages in a manner inconsistent

with the Defendant’s rights to due process. However, the Bankruptcy Code does not set guidelines

for the amount of damages to be awarded, leaving open the possibility of a punitive award that is

disproportionate to the actual harm caused. See 11 U.S.C. § 362(k). If this were to happen, FRS

merely seeks to preserve those constitutional arguments on appeal. The argument would not be the

court lacked authority to enter punitive damages; the argument would be the amount of damages

awarded was out of proportion to the actual damages and accordingly was unconstitutional. The

right of a defendant to seek appellate review of an award of punitive damages is well settled. By

way of authority, the United States Bankruptcy Court for the Middle District of Alabama awarded

punitive damages against the defendant in In re Vaughn, 542 B.R. 589 (M.D. Bankr. 2015). The

award was appealed and reversed in Central Mississippi Credit Corp. v. Vaughn, 555 B.R. 803

(M.D. Ala. 2016), vacated on other grounds, (holding the bankruptcy court’s award of punitive

damages was excessive and vacating and remanding the case). Specifically, in that matter, the

reviewing court held:

                         the amount of punitive damages a court may award,
                 however, is limited by the Due Process Clause of the Fourteenth
                 Amendment, which prohibits ‘grossly excessive or arbitrary
                 punishments,’ and the Supreme Court has advised reviewing courts
                 [in State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 416,
                 418 (2003)], in determining whether punitive damages are excessive
                 to consider ‘(1) the degree of reprehensibility of the defendant’s
                 misconduct; (2) the disparity between the actual or potential harm
                 suffered by the plaintiff and the punitive damages award; and (3) the
                 difference between the punitive damages award . . . . and the civil
                 penalties authorized or imposed in comparable cases.

Central Mississippi Credit Corp. v. Vaughn, 555 B.R. 803, 817 (M.D. Ala. 2016).




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            7.       The Undersigned believes the constitutionality of a punitive damages award is

something that must be affirmatively pled.            The Undersigned acknowledges the affirmative

defenses criticized by this Honorable Court do not concisely make the intended point.2 However,

at no time did FRS intend to challenge the authority of this Honorable Court to award punitive

damages when the facts of a case warrant it. FRS was merely trying to preserve its right to challenge

the ratio or proportion of punitive damages awarded in the unlikely event such an award was

unconstitutional under the rule of law established in BMW of North America, Inc. v. Gore, 517 U.S.

559 (1996).

            WHEREFORE, PREMISES CONSIDERED, the Defendant respectfully submits this

response to this Honorable Court’s Order [doc. 25] to provide authority for its constitutional

challenge to any potential award of punitive damages based on the amount, proportion or ratio

thereof. The Undersigned respectfully asks this Honorable Court to consider the following request

for relief:

                1)   Allow the Undersigned to file the attached Amended Answer with one precise, clear

and appropriate Affirmative Defense regarding punitive damages (See Exhibit A, Affirmative

Defense 21);

                2)   For permission to file a supplemental pleading to address any additional concerns
this Honorable Court has;

                3)   To keep the Show Cause hearing on as scheduled so that the Undersigned may
personally be held accountable for this Honorable Court’s concerns.




2
  However, FRS does contend the affirmative defense was sufficient well pled to avoid arguments of waiver should
the matter of punitive damages ever be raised on appeal.


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                                                    Respectfully Submitted,


                                                    /s/ Neal D. Moore, III
                                                    Neal D. Moore, III
                                                    Attorney for Defendant,
                                                    Financial Recovery Services, Inc.



OF COUNSEL:
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                                CERTIFICATE OF SERVICE

      This is to certify that on this the 24th day of September 2019, a copy of the foregoing
document has been served upon counsel of record listed below via Alafile:

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                                             /s/ Neal D. Moore, III
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